      Case 1:23-cv-01599-ABJ-ZMF Document 198 Filed 12/15/23 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

       v.                                          No. 1-23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                    Defendants.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s direction at the November 27 hearing, Plaintiff Securities and

Exchange Commission (“SEC”), and Defendants BAM Management US Holdings Inc., BAM

Trading Services Inc. (collectively, “BAM”), Binance Holdings Limited (“Binance” or “BHL”),

and Changpeng Zhao, respectfully submit this Joint Status Report.

I.     BAM-Related Discovery

       A. Document Discovery

       BAM is continuing to produce documents and communications in response to the SEC’s

September 21, 2023 requests, including productions within the last several weeks that the SEC is

processing, reviewing, and (for many documents where necessary) translating.        For certain

requests for Slack communications, BAM encountered technical issues processing data that have

resulted in delays. BAM has resolved those issues and is reviewing communications potentially

responsive to the SEC’s requests. In addition, BAM is evaluating whether there are certain



                                               1
      Case 1:23-cv-01599-ABJ-ZMF Document 198 Filed 12/15/23 Page 2 of 6




responsive chats stored on devices within its possession, custody, and control but has not yet

identified any such communications. The SEC and BAM are continuing to meet and confer on

the SEC’s document requests, including as to whether specific document requests have been

reasonably satisfied and the anticipated completion date for all productions. The SEC reserves the

right to pursue further production of documents and communications consistent with the Consent

Order, and BAM reserves the right to ask the Court to end expedited discovery with respect to

BAM once BAM believes it has reasonably satisfied the SEC’s requests. The parties will continue

to attempt to narrow any disputes about BAM’s responses to the SEC’s document requests before

the next status report to the Court.

       B. Depositions

       Since the November 27 hearing, the SEC has taken four additional depositions of BAM

personnel and is scheduled to take another deposition on December 15. One of those fact witnesses

was also designated as a Rule 30(b)(6) deponent for one noticed topic. The parties will continue

to meet and confer on the scope of topics in the SEC’s Rule 30(b)(6) deposition notice after the

inspection of BAM’s systems and software. BAM reserves the right to object to any additional

Rule 30(b)(6) deposition following the meet and confer process and in light of the information

provided to the SEC through other discovery and depositions.

       After completing the meet and confer process for the Rule 30(b)(6) deposition or

completing that deposition, whichever is later, consistent with the Court’s direction at the

September 18 hearing, the parties will submit to the Court their positions on the SEC’s pending

requests for the depositions of BAM’s former CEO and CFO. The SEC reserves the right to seek

additional deposition testimony from BAM personnel, including those already deposed, based on

ongoing discovery, including documents and communications the SEC did not receive until after




                                                2
      Case 1:23-cv-01599-ABJ-ZMF Document 198 Filed 12/15/23 Page 3 of 6




the relevant deposition took place, or that were produced shortly before a deposition such that the

SEC lacked sufficient time to include in the examination of relevant witnesses. BAM objects to

deposing additional witnesses or re-deposing witnesses, and believes that the SEC has had

adequate time to review documents and prepare to question witnesses about pertinent topics.

         The parties will continue to meet and confer and attempt to narrow any disagreements

regarding depositions before the next status report to the Court.

         C. Inspection

         On December 14, BAM proposed that the requested inspection of its technology

infrastructure, systems, and software take place virtually at 7 pm ET on December 21, and the SEC

is currently considering BAM’s proposal. The parties will continue to meet and confer and attempt

to narrow any disagreements on the scope, timing, and process of the inspection before the next

status report to the Court.

         D. Part IV of Consent Order

         BAM has agreed to consider providing information in response to the SEC’s remaining

questions regarding information produced pursuant to Part IV of the Consent Order. The parties

will meet and confer on these issues and will report on any disputes in the next status report to the

Court.

II.      Binance/Zhao-Related Discovery

         A. Document Productions

         BHL has produced System and Organization Controls (“SOC”) reports that BAM’s CISO

described in his deposition and has also agreed to consider the SEC’s request for any other SOC

reports that apply to technological infrastructure, systems, and software relevant to BAM’s

customer or corporate assets. BHL has also agreed to consider producing chat messages over




                                                 3
       Case 1:23-cv-01599-ABJ-ZMF Document 198 Filed 12/15/23 Page 4 of 6




which BAM confirmed at the last hearing it does not have possession, custody, or control, and the

SEC has agreed to identify parameters for this request to help facilitate BHL’s search for

responsive documents. Before the next status report to the Court, the parties will also continue to

meet and confer concerning the SEC’s requests. 1 The SEC reserves the right to pursue further

production of documents and communications, and BHL and Mr. Zhao likewise reserve the right

to object.

        B. Depositions

        BHL has proposed producing a fact witness to address the issues regarding access to

BAM’s customer and corporate crypto assets discussed at the last hearing, subject to certain

conditions the parties are negotiating. Before the next status report to the Court, the parties will

meet and confer and seek to schedule the date and location of this deposition. The SEC plans to

also seek deposition testimony from other BHL and Zhao-related fact and corporate representative

witnesses, including those the SEC previously noticed. BHL and Mr. Zhao reserve the right to

object to such deposition requests. The parties will continue to meet and confer and attempt to

narrow any disagreements regarding the scope, timing, location, and number of depositions.

III.    Proposed Protective Order

        On December 12, 2023, the SEC asked Defendants to propose a protective order to address

Defendants’ concerns about the confidentiality of their information as well as the Court’s

November 14, 2023 Minute Order, and Defendants intend to do so.




1
  The SEC continues to reserve the right to seek further relief from the Court if the parties are
unable to resolve pending issues regarding Binance’s productions in response to Section IV of
the Consent Order. See SEC Memo. Supp. Mot. to Compel, at 15 n.4, Dkt. No. 114-1. Pending
issues include Binance’s continued withholding of information required under Section IV
pending entry of a protective order.


                                                 4
      Case 1:23-cv-01599-ABJ-ZMF Document 198 Filed 12/15/23 Page 5 of 6




IV.    Proposed Status Update

       The parties propose providing the Court with the next status report on January 25, 2023.

The parties reserve the right to seek a hearing with the Court sooner if necessary to resolve ongoing

disputes.



 Dated: December 15, 2023                            Respectfully submitted,


 /s/ Daniel W. Nelson                                /s/ Matthew Scarlato
 Daniel W. Nelson (D.C. Bar #433415)                 Matthew F. Scarlato (D.C. Bar No. 484124)
 Richard W. Grime                                    Jennifer L. Farer (D.C. Bar No. 1013915)
 Jason J. Mendro (D.C. Bar #482040)                  David A. Nasse
 Stephanie Brooker                                   SECURITIES AND EXCHANGE
 M. Kendall Day                                      COMMISSION
 GIBSON, DUNN & CRUTCHER LLP                         100 F Street, NE
 1050 Connecticut Avenue, NW                         Washington, DC 20549-9040
 Washington, D.C. 20036-5306                         (202) 551-3749 (Scarlato)
 DNelson@gibsondunn.com                              nassed@sec.gov
 RGrime@gibsondunn.com                               farerj@sec.gov
 JMendro@gibsondunn.com                              scarlatom@sec.gov
 SBrooker@gibsondunn.com
 KDay@gibsondunn.com                                 J. Emmett Murphy
                                                     Jorge G. Tenreiro
 Attorneys for Defendant Binance                     Elisa S. Solomon
 Holdings Limited                                    SECURITIES AND EXCHANGE
                                                     COMMISSION
                                                     100 Pearl Street
                                                     New York, NY 10004
                                                     (212) 336-0078 (Murphy)
                                                     murphyjoh@sec.gov
                                                     tenreiroj@sec.gov
                                                     solomonel@sec.gov

                                                     Attorneys for Plaintiff Securities and
                                                     Exchange Commission




                                                 5
    Case 1:23-cv-01599-ABJ-ZMF Document 198 Filed 12/15/23 Page 6 of 6




/s/ Abid Qureshi                         /s/ Matthew T. Martens
Abid R. Qureshi (D.C. Bar No. 459227)    Matthew T. Martens
William R. Baker, III (D.C. Bar No.      William R. McLucas
383944)                                  WILMER CUTLER PICKERING HALE AND
Erik S. Volkman (D.C. Bar No. 490999)    DORR LLP
Michael E. Bern (D.C. Bar No. 994791)    2100 Pennsylvania Avenue NW
LATHAM & WATKINS LLP                     Washington, DC 20037
555 Eleventh Street, NW, Suite 1000      (202) 663-6921
Washington, DC 20004                     Fax: (202) 663-6363
Tel: (202) 637-2200                      matthew.martens@wilmerhale.com
Fax: (202) 637-2201                      william.mclucas@wilmerhale.com
abid.qureshi@lw.com
william.baker@lw.com                     Tiffany J. Smith
eric.volkman@lw.com                      WILMER CUTLER PICKERING HALE
michael.bern@lw.com                      AND DORR LLP
                                         7 World Trade Center
Douglas K. Yatter                        250 Greenwich Street
Benjamin Naftalis                        New York, NY 10007
LATHAM & WATKINS LLP                     tiffany.smith@wilmerhale.com
1271 Avenue of the Americas
New York, NY 10020                       George S. Canellos
Tel: (212) 906-1200                      Matthew Laroche
Fax: (212) 751-4864                      MILBANK LLP
douglas.yatter@lw.com                    55 Hudson Yards
benjamin.naftalis@lw.com                 New York, NY 10001-2163
                                         212-530-5792
Heather A. Waller                        gcanellos@milbank.com
LATHAM & WATKINS LLP                     mlaroche@milbank.com
330 North Wabash Avenue, Suite 2800
Chicago, IL 60611                        Attorneys for Defendants BAM Trading Services
Tel: (312) 876-7700                      Inc. and BAM Management Holdings
Fax: (312) 993-9767                      US Inc.
heather.waller@lw.com

Melanie M. Blunschi
LATHAM & WATKINS LLP
505 Montgomery Street, Suite 2000
San Francisco, CA 94111-6538
Tel: (415) 391-0600
Fax: (415) 395-8095
melanie.blunschi@lw.com

Attorneys for Defendant Changpeng Zhao




                                         6
